Case 1:23-md-03076-KMM Document 373-1 Entered on FLSD Docket 11/10/2023 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


     IN RE:

     FTX CRYPTOCURRENCY EXCHANGE
     COLLAPSE LITIGATION                                 Civil Action No. 1:23-md-3076-KMM


     This Document Relates to All Actions.




                                                ORDER

           Before the Court is Andrew Figueroa’s Motion for Leave to Withdraw as Counsel for

    Defendant Sam Bankman-Fried (the “Motion”). The Court being fully advised, it is:

           ORDERED AND ADJUDGED:

           1.      The Motion is GRANTED; and

           2.      Andrew T. Figueroa is permitted to withdraw as counsel for Defendant Sam

    Bankman-Fried and is discharged from all further obligation and responsibility in this action.

           DONE and ORDERED in Chambers in Miami, Florida this ___ day of November, 2022.



                                                         ______________________________

                                                         K. MICHAEL MOORE
                                                         UNITED STATES DISTRICT JUDGE
